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               Exhibit
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                     (OGC) (FBI)

From:                            FBI_COMMUNICATIONS
Sent:                            Saturday, February 1, 2025 8:10 PM
To:                              FBI-ALL
Subject:                         Message from the Acting Director




 Colleagues,

 As promised, we are reaching out again today to provide you with an update on the
 information we shared yesterday.

 I want to assure you that we continue to work with the Department of Justice to better
 understand the purpose for which the lists I referenced yesterday are being sought. As career
 special agents — and fellow FBI employees — we know firsthand that none of us are assigned
 to matters based on anything other than the responsibilities of the roles in which we serve. So
 let it be absolutely clear that we do not view anyone's identification on one of these lists as an
 indicator of misconduct. As you know, when there are allegations of misconduct, the FBI has a
 long-standing and robust process for evaluating and adjudicating those allegations. We require
 strict adherence to employee standards of conduct and have a robust disciplinary process if an
 employee deviates from those standards. This well-established process both ensures
 accountability and affords employees appropriate due process and review in accordance with
 existing policy and law. That process and our intent to follow it have not changed.

 As we continue to strive to provide the best transition possible to the next leadership team, we
 recognize that for many this has been an incredibly challenging week. You have mobilized to
 support DHS’s immigration enforcement operations; you have scoured the Potomac River and
 the streets of Philadelphia for the remains of victims tragically killed in airplane crashes; and you
 have continued to identify, investigate, and protect the American people from countless
 national security and criminal threats across the world. We also recognize that all of this comes
 on top of challenges you may be dealing with personally. For example, many among us are
 caring for loved ones and working to rebuild homes following devastating wildfires and
 hurricanes. These questions may only add to the uncertainty and stress. While we do not have
 all the answers yet, know that you will never walk alone.



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We remain committed to protecting you, our FBI Family, and the American people —
always. Thank you for your continued commitment to our mission, to our partners, to our
country, and to each other. We will be back in touch soon.

Stay safe,
Brian J. Driscoll, Jr.
Acting Director




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